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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                    TEXARKANA DIVISION

  STANLEY HAWKINS, INDIVIDUALLY         §                      CASE NO. 5:13-cv-00121
  AND AS INDEPENDENT EXECUTOR           §
  OF THE ESTATE OF ELIZABETH            §
  PAIGE HAWKINS, DECEASED;              §
  AND LACY PAIGE McKEE,                 §
                                        §
         Plaintiffs,                    §
                                        §
  v.                                    §
                                        §
  NEXION HEALTH MANAGEMENT, INC.;       §
  NEXION HEALTH AT BOGATA, INC.,        §
  d/b/a REGENCY HEALTHCARE AND          §
  REHABILITATION CENTER AT              §
  RED RIVER; NEXION HEALTH              §
  LEASING, INC.; NEXION HEALTH OF       §
  TEXAS, INC.; AND NEXION HEALTH, INC., §
                                        §
         Defendants.                    §


                   PLAINTIFFS’ FIRST AMENDED ORIGINAL COMPLAINT


  TO THE HONORABLE COURT:

          Plaintiffs, Stanley Hawkins, Individually and as Independent Executor of the Estate of

  Elizabeth Paige Hawkins, Deceased; and Lacy Paige McKee, file this their First Amended Original

  Complaint complaining of Nexion Health Management, Inc.; Nexion Health at Bogata, Inc. d/b/a

  Regency Healthcare and Rehabilitation Center at Red River; Nexion Health Leasing, Inc.; Nexion

  Health of Texas, Inc.; and Nexion Health, Inc. and for cause of action Plaintiffs would respectfully

  show the Court the following:




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                                                 I. PARTIES

          1.1      Plaintiff, Stanley Hawkins, an individual, is a citizen of the State of Texas residing

  at 940 CR 3350, Avery, Red River County, Texas, 75554. Plaintiff, Stanley Hawkins, sues in his

  individual capacity and as the Independent Executor of the Estate of Elizabeth Paige Hawkins.

  Elizabeth Paige Hawkins was a citizen of the State of Texas and a resident of Red River County,

  Texas, at the time of her death and she left a valid unrevoked written Will naming the Plaintiff,

  Stanley Hawkins, to serve without bond as Independent Executor of her estate. The Will was

  admitted to probate on March 13, 2013, and the matters with regard to the estate of Elizabeth Paige

  Hawkins are pending in In Re the Estate of Elizabeth Paige Hawkins, Deceased; Cause No.

  PR07383; In the County Court of Red River County, Texas.

          1.2      Plaintiff, Lacy Paige McKee, an individual, is a citizen of the State of Texas residing

  at 940 CR 3350, Avery, Red River County, Texas, 75554. Plaintiff, Lacy Paige McKee, sues in her

  individual capacity.

          1.3      Defendant, Nexion Health Management, Inc., is a Delaware corporation maintaining

  its principal place of business in the State of Maryland, and may be served with process through its

  registered agent for service, CT Corporation System, 350 N. St. Paul Street, Suite 2900, Dallas,

  Texas, 75201.

          1.4      Defendant, Nexion Health at Bogata, Inc., is a Delaware corporation maintaining its

  principal place of business in the State of Maryland, and may be served with process through its

  registered agent for service, CT Corporation System, 350 N. St. Paul Street, Suite 2900, Dallas,

  Texas, 75201.




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          1.5      Defendant, Nexion Health Leasing, Inc., is a Delaware corporation maintaining its

  principal place of business in the State of Maryland, and may be served with process through its

  registered agent for service, CT Corporation System, 350 N. St. Paul Street, Suite 2900, Dallas,

  Texas, 75201.

          1.6      Defendant, Nexion Health of Texas, Inc., is a Delaware corporation maintaining its

  principal place of business in the State of Maryland, and may be served with process through its

  registered agent for service, CT Corporation System, 350 N. St. Paul Street, Suite 2900, Dallas,

  Texas, 75201.

          1.7      Defendant, Nexion Health, Inc., is a Delaware corporation maintaining its principal

  place of business in the State of Maryland, and may be served with process through its registered

  agent for service, CT Corporation System, 350 N. St. Paul Street, Suite 2900, Dallas, Texas, 75201.

                                     II. JURISDICTION AND VENUE

          2.1      This Court has jurisdiction of the claim pursuant to 28 U.S.C. §1332(a) because a

  complete diversity of citizenship exists between the parties and the amount in controversy exceeds

  $75,000.00.

          2.2      This Court has venue pursuant to 28 U.S.C. §1391(a)(2) because a substantial part

  of the events or omissions giving rise to the claim occurred within the Eastern District of Texas.

                               III. AGENCY/RESPONDEAT SUPERIOR

          3.1      Whenever it is alleged in this Complaint that Nexion Health Management, Inc. did

  any act or thing, it is also meant that its agents, servants, employees, ostensible agents, agents by

  estoppel and/or representatives including, but not limited to, nurses, aides and other caregivers at

  Nexion Health Management, Inc. did such act or thing and at the time such act or thing was done,


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  it was done with Nexion Health Management, Inc.’s authorization or was done in the normal routine

  course of the agency or employment of Nexion Health Management, Inc.

          3.2      Whenever it is alleged in this Complaint that Nexion Health at Bogota, Inc. d/b/a

  Regency Healthcare and Rehabilitation Center at Red River did any act or thing, it is also meant that

  its agents, servants, employees, ostensible agents, agents by estoppel and/or representatives

  including, but not limited to, nurses, aides and other caregivers at Nexion Health at Bogota, Inc.

  d/b/a Regency Healthcare and Rehabilitation Center at Red River did such act or thing and at the

  time such act or thing was done, it was done with Nexion Health at Bogota, Inc. d/b/a Regency

  Healthcare and Rehabilitation Center at Red River’s authorization or was done in the normal routine

  course of the agency or employment of Nexion Health at Bogota, Inc. d/b/a Regency Healthcare and

  Rehabilitation Center at Red River

          3.3      Whenever it is alleged in this Complaint that Nexion Health Leasing, Inc. did any act

  or thing, it is also meant that its agents, servants, employees, ostensible agents, agents by estoppel

  and/or representatives including, but not limited to, nurses, aides and other caregivers at Nexion

  Health Leasing, Inc. did such act or thing and at the time such act or thing was done, it was done

  with Nexion Health Leasing, Inc.’s authorization or was done in the normal routine course of the

  agency or employment of Nexion Health Leasing, Inc.

          3.4      Whenever it is alleged in this Complaint that Nexion Health of Texas, Inc. did any

  act or thing, it is also meant that its agents, servants, employees, ostensible agents, agents by estoppel

  and/or representatives including, but not limited to, nurses, aides and other caregivers at Nexion

  Health of Texas, Inc. did such act or thing and at the time such act or thing was done, it was done




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  with Nexion Health of Texas, Inc.’s authorization or was done in the normal routine course of the

  agency or employment of Nexion Health of Texas, Inc.

          3.5      Whenever it is alleged in this Complaint that Nexion Health, Inc. did any act or thing,

  it is also meant that its agents, servants, employees, ostensible agents, agents by estoppel and/or

  representatives including, but not limited to, nurses, aides and other caregivers at Nexion Health, Inc.

  did such act or thing and at the time such act or thing was done, it was done with Nexion Health,

  Inc.’s authorization or was done in the normal routine course of the agency or employment of Nexion

  Health, Inc.

                                                 IV. FACTS

          4.1      Plaintiffs would show that, at all times material to the Plaintiffs’ claims, the

  Defendants were healthcare providers as defined by Tex. Civ. Prac. & Rem. Code section

  74.001(a)(12). On October 24, 2012, Elizabeth Paige Hawkins (Mrs. Hawkins) was a resident of

  Regency Healthcare and Rehabilitation Center at Red River (Regency) in Clarksville, Red River

  County, Texas. The Defendants, Nexion Health Management, Inc.; Nexion Health at Bogata, Inc.

  d/b/a Regency Healthcare and Rehabilitation Center at Red River; Nexion Health Leasing, Inc.;

  Nexion Health of Texas, Inc.; and Nexion Health, Inc., (Nexion Defendants) owned, operated,

  controlled and/or were affiliated with Regency.

          4.2      The said Defendants were, at the time Mrs. Hawkins was a resident at Regency, a

  nursing home duly licensed, certified, registered, or chartered by the State of Texas to provide health

  care, Tex. Civ. Prac. & Rem. Code section 74.001(a)(21). Alternatively, the said Defendants were,

  at all relevant times, an officer, director, shareholder, member, partner manager, owner or affiliate

  of a health care provider and an employee, independent contractor, or agent of a health care provider


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  acting in the course and scope of the employment or contractual relationship. Tex. Civ. Prac. Rem

  Code section 74.001(a)(12)(B)(i)(ii). Further, as affiliates of a healthcare provider, Defendants, at

  all relevant times, directly or indirectly, through one or more intermediaries, controlled, was

  controlled by, or was made under common control with a specified person (or entity), including any

  direct or indirect parent or subsidiary. Tex. Civ. Prac. Rem. Code section 74.001(a)(1). Control was

  exercised by possession, directly or indirectly, of the power to direct or cause the direction of the

  management and policies of the person (or entity), whether through ownership of equity or securities

  by contract or otherwise. Tex. Civ. Prac Rem. Code section 74.001(a)(1)(3).

          4.3      Specifically, the Nexion Defendants controlled the policies and procedures of the

  nursing home, training of nursing home staff, management of the nursing home, as well as providing

  regional clinical specialists to direct the administration of clinical care at various Nexion affiliates

  to include Regency. Additionally, Defendant Nexion Health markets Regency as one of its

  “campuses” in the “Nexion family.” See www.nexion-health.com [04/14/2014.] This Nexion

  Defendant boasts the training of “our staff” at the various Nexion “campuses,” and speaks of “our

  campus employees” and “our caregivers” in the “Nexion family” to include Regency. Id. Finally,

  the Nexion Defendants have also exerted their power to direct and control Regency by implementing

  reporting requirements on the nursing home. Specifically, by requiring administration to report state

  investigations by the Department of Aging and Disability Services (DADS) involving patient abuse

  and neglect to the Nexion Defendants. Case in point, the incident made the basis of this lawsuit.

          4.4      Mrs. Hawkins was a 50 year old lady who suffered from a severe diabetic condition

  requiring continual administration of insulin by an insulin pump. Mrs. Hawkins’ physician provided

  orders to the nursing home which specified the maximum range for Mrs. Hawkins’ glucose level.


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  When that level was exceeded, the staff of the nursing home were to advise the physician. On

  numerous occasions, Mrs. Hawkins’ blood sugar levels exceeded the level required for reporting to

  her physician and the staff took no action to report the excessive levels though, frequently, the

  recorded levels were dangerously high.

          4.5      Mrs. Hawkins suffered from depression and dementia. This condition contributed

  to Mrs. Hawkins’ tendency to leave the nursing home facility. Nursing home residents with this

  tendency are classified as a “risk for elopement.” At all times material, the Defendants’ records

  concerning Mrs. Hawkins’ care noted that she was a risk for elopement. A resident, who is a risk

  for elopement, requires the constant supervision of nursing home staff when the resident is outside

  the nursing home building.

          4.6      In the early morning hours of October 24, 2012, the staff of the Defendants’ nursing

  home allowed Mrs. Hawkins to go outside of the building without any supervision. Defendants’

  facility is equipped with a Wanderguard System which is designed to prevent residents, who are at

  risk for elopement, from exiting the building. On the morning of October 24, 2012, when Mrs.

  Hawkins exited the nursing home, the system was either not operational or the nursing home staff

  intentionally allowed Mrs. Hawkins to leave the facility without supervision. As a result of the

  failure of the Defendants to properly supervise Mrs. Hawkins, she left the grounds of the nursing

  home and walked onto, and crossed, heavily-traveled U.S. Highway 82. As she crossed the highway,

  she fell into a ditch, three to five feet in depth, containing a concrete culvert. As a result thereof, she

  suffered serious fractures to her arm and foot, as well as other injuries. Mrs. Hawkins, unable to

  stand, remained in the ditch alone and in excruciating pain for forty-five minutes to an hour.

  Eventually, employees of the nursing home who were outside on a smoke break heard Mrs..


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  Hawkins’ cries for help as she lay injured in the ditch some distance away. They went to Mrs.

  Hawkins and found her in great pain and unable to stand. Rather than immediately calling 911 and

  reporting the injury and without making any report as required by law, but using a cell phone, they

  called co-workers inside the nursing home requesting that they come with a wheelchair.

          4.7      Four (4) employees of the Defendants gathered in the ditch around the seriously

  injured Mrs. Hawkins and, though she was expressing great pain, they loaded her into the wheelchair

  and wheeled her back across the highway and into the nursing home. They placed Mrs. Hawkins in

  her bed and when it appeared that her suffering was too great to ignore, they decided to seek medical

  assistance. After an attempt to load her in the nursing home van, her expressions of pain were too

  much and they decided to call emergency medical services (EMS). The four employees of the

  Defendants then conspired together to falsely report that Mrs. Hawkins’ injuries resulted from a fall

  in her room. This path was chosen instead of reporting how the fall actually happened in an attempt

  to conceal their own negligence in allowing her to go outside the nursing home without supervision.

          4.8      Upon arrival at the nursing home, the emergency personnel (EMTs) were directed to

  Mrs. Hawkins’ room but none of the staff or persons with knowledge of the facts concerning her fall

  went to her room or assisted the EMTs in providing care to Mrs. Hawkins. The EMTs asked Mrs.

  Hawkins how her injuries occurred, and she told them that she fell while outside the facility. As the

  EMTs were removing Mrs. Hawkins, they repeated Mrs. Hawkins’ version of events to the

  employees of the Defendants who were involved in the conspiracy to cover up the actual events.

  Those employees adamantly contradicted Mrs. Hawkins’ version of events and stated that Mrs.

  Hawkins had fallen in her room. The EMTs, relying on the nursing home staff’s version of events,




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  reported to the treating healthcare providers at the emergency room of the hospitals that Mrs.

  Hawkins’ injuries were the result of a nursing home fall.

          4.9      Mrs. Hawkins was taken to the Paris Regional Medical Center in Paris, Texas. She

  was seen there by an orthopaedic doctor who examined and x-rayed her and found fractures of the

  left arm and foot. The physician provided normal treatment by stabilizing the fractures and trying

  to make Mrs. Hawkins as comfortable as possible. Nursing home personnel returned Mrs. Hawkins

  to the nursing home at approximately 9:00 a.m. the morning of October 24, 2012, where she

  remained confined to her bed and room for the remainder of that day and night. Though Mrs.

  Hawkins continued to suffer as a result of her traumatic injuries, little attention was given to her by

  the nurses and aides employed by the Defendants. Rather, the Defendants abandoned Mrs. Hawkins

  and failed to monitor her condition and allowed her condition to worsen, all as a result of their

  scheme to concoct a lie as to how her injuries were sustained. The Defendants’ staff purported to

  test her glucose level and recorded the level as much higher than the level required for reporting to

  her physician. However, no report was made to her physician nor any guidance sought as to any

  necessary adjustments to Mrs. Hawkins’ insulin pump.

          4.10     At 6:30 a.m. on October 25, 2012, employees of the Defendants purportedly checked

  the glucose level of Mrs. Hawkins and recorded it at a level far above the level required for reporting

  to her physician, and no report was made. Later than morning, Mrs. Hawkins’ husband carried her

  to the orthopaedic physician in Paris, Texas, for further treatment of her fractures. She was returned

  to Defendants’ care at approximately 11:45 a.m. on October 25, 2012. Again, little attention was

  given to Mrs. Hawkins by the nursing home staff though her suffering was great. An employee of

  the Defendants purportedly checked Mrs. Hawkins’ glucose level at 4:30 p.m. on October 25, 2012,


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  and recorded the level at 468. Subsequent events would lead to the conclusion that her actual

  glucose level would have far exceeded 468. Nonetheless, a test result of 468 was well above the

  level which required an immediate report to Mrs. Hawkins’ physician and the nurses employed by

  the Defendants failed to report the reading. Again, there was no attention given to the insulin pump

  of Mrs. Hawkins.

          4.11     On October 25, 2012, at 4:00 p.m., it was noted by an employee of Defendants that

  Mrs. Hawkins “rouses slowly to verbal and tactile stimuli.” No further recorded attention was given

  to Mrs. Hawkins for approximately an hour and a half. At 5:30 p.m., it was noted that Mrs. Hawkins

  was totally unresponsive, skin was cool to touch, respiration was labored, and they were unable to

  get a blood pressure reading. A 911 call was made. Upon arrival at the nursing home, the EMTs

  started CPR and attempted to intubate Mrs. Hawkins but were unable to do so because of the

  presence of vomit in her throat. They were able, however, to restore a faint heart beat and removed

  her to the emergency room at East Texas Medical Center in Clarksville. There, at 6:18 p.m., the

  glucose level of Mrs. Hawkins was recorded at 1120, ten (10) times the normal level. The medical

  providers determined that she had suffered cardiac arrest as a result of “diabetic complication.”

  Though tests at the Clarksville emergency room concluded that Mrs. Hawkins was essentially brain

  dead, she was transported on life support to Wadley Regional Medical Center in Texarkana, Texas.

   At Wadley on October 27, 2012, the Plaintiffs received the final medical opinion that there was no

  hope for their loved one, and the sad, anguished decision was made to disconnect Mrs. Hawkins

  from life support. On October 27, 2012, approximately 72 hours after the fall, Mrs. Hawkins was

  pronounced dead.




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          4.12     The total lack of care of Mrs. Hawkins by the Defendants’ employees, as stated

  above, was the direct and proximate result of the Defendants’ failure to have in place policies and

  procedures for the proper care of Mrs. Hawkins and the Defendants’ failure to provide training and

  supervision of their employees for the proper care of Mrs. Hawkins.

                  V. NEGLIGENCE OF NEXION HEALTH AT BOGATA, INC.
                          D/B/A REGENCY HEALTHCARE AND
                       REHABILITATION CENTER AT RED RIVER;
                         NEXION HEALTH MANAGEMENT, INC.;
                            NEXION HEALTH LEASING, INC.;
                         NEXION HEALTH OF TEXAS, INC.; AND
                                NEXION HEALTH, INC.

          5.1      Nexion Health at Bogata, Inc. d/b/a Regency Healthcare and Rehabilitation Center

  at Red River; Nexion Health Management, Inc.; Nexion Health Leasing, Inc.; Nexion Health of

  Texas, Inc. and Nexion Health, Inc. were negligent and failed to meet the applicable standard of care

  and the treatment and care of Elizabeth Paige Hawkins. Nexion Health at Bogata, Inc. d/b/a Regency

  Healthcare and Rehabilitation Center at Red River; Nexion Health Management, Inc.; Nexion Health

  Leasing, Inc.; Nexion Health of Texas, Inc. and Nexion Health, Inc.’s negligence in their care and

  treatment of Elizabeth Paige Hawkins proximately caused her death, as well as damages alleged

  herein sustained by Plaintiffs. Nexion Health at Bogata, Inc. d/b/a Regency Healthcare and

  Rehabilitation Center at Red River; Nexion Health Management, Inc.; Nexion Health Leasing, Inc.;

  Nexion Health of Texas, Inc. and Nexion Health, Inc. were negligent in the following particulars,

  each of which, taken separately or collectively, constitute a direct and proximate cause of the injuries

  and damages alleged herein:

          a.       Failure to prevent Mrs. Hawkins from going outside of the nursing home
                   building on or about October 24, 2012;



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          b.       Failure to provide supervision for Mrs. Hawkins when she was outside of the
                   nursing home building on or about October 24, 2012;

          c.       Failure to have a policy and procedure for residents who were at risk for
                   elopement;

          d.       Failure to train and supervise staff concerning residents at risk for elopement;

          e.       Failure to maintain the Wanderguard system;

          f.       Failure to truthfully report to healthcare providers the nature and extent of the
                   fall which caused injury to Mrs. Hawkins;

          g.       Failure to render prompt medical attention so there is no delay in seeking
                   necessary medical care;

          h.       Failure to have a policy and procedure for reporting of incidents causing
                   injury to residents;

          i.       Failure to train and supervise staff in reporting incidents causing injury to
                   residents;

          j.       Failure to adequately monitor the glucose level of Mrs. Hawkins on October
                   24 and 25, 2012;

          k.       Failure to have a policy and procedure for adequately monitoring the glucose
                   levels of diabetic residents;

          l.       Failure to train and supervise staff to ensure that the glucose levels of diabetic
                   residents are adequately monitored;

          m.       Failure to monitor and correctly use Mrs. Hawkins’ insulin pump;

          n.       Failure to have a policy and procedure for monitoring and the correct use of
                   insulin pumps for diabetic residents;

          o.       Failure to train and supervise the staff in the monitoring and the correct use
                   of insulin pumps for diabetic residents;

          p.       Failure to report the excessive glucose levels of Mrs. Hawkins to her
                   physician;

          q.       Failure to have a policy and procedure for reporting excessive glucose levels
                   of diabetic residents to their treating physician as directed by their physician;

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          r.       Failure to train and supervise staff to ensure that excessive glucose levels of
                   diabetic residents were reported to their treating physician as directed by their
                   physician;

          s.       Failure to control the blood sugar of Mrs. Hawkins;

          t.       Failure to train and supervise staff concerning the deleterious effect of trauma
                   for a brittle diabetic resident;

          u.       Failure to have written policies and procedures for enhanced monitoring in
                   reporting of brittle diabetic residents who have suffered trauma;

          v.       Failure to report to her physician a change in condition of Mrs. Hawkins;

          w.       Failure to have a policy and procedure for reporting change of condition of
                   a resident;

          x.       Failure to train and supervise staff to require reporting of change of condition
                   of a resident;

          y.       Failure to report to treating physicians the failure of diabetic residents to
                   consume food necessary for the resident’s condition;

          z.       Failure to have a policy and procedure requiring reporting to treating
                   physician the failure of a diabetic resident to consume food necessary for the
                   resident’s condition; and

          aa.      Failure to train and supervise staff to report to a diabetic resident’s treating
                   physician the failure of the resident to consume food necessary for the
                   resident’s condition.

          5.2      Nexion Health at Bogata, Inc. d/b/a Regency Healthcare and Rehabilitation Center

  at Red River; Nexion Health Management, Inc.; Nexion Health Leasing, Inc.; Nexion Health of

  Texas, Inc. and Nexion Health, Inc. are, in all probability, negligent in other respects in addition to

  the above and Plaintiffs reserve the right to amend their pleadings to conform to the information

  uncovered in the discovery process.




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                                                 VI. DAMAGES

          6.1      This is a suit for injuries and the wrongful death of Elizabeth Paige Hawkins. It is

  brought pursuant to the provisions of Section 71.001, et seq and Section 71.021 of the Texas Civil

  Practice and Remedies Code, known as the Texas Wrongful Death Act, and Texas Survival Statute,

  respectively. Plaintiffs’ cause of action is based on Defendants’ negligence and gross negligence.

                                             A. Survival Damages

          6.2      In addition to the wrongful death damages that Plaintiffs are entitled to recover from

  Defendants, the Estate of Elizabeth Paige Hawkins is entitled to recover certain damages occurring

  to Mrs. Hawkins before her death and as an expense caused by her death.

          6.3      Elizabeth Paige Hawkins, at the time of her death, left a valid unrevoked written Will

  naming the Plaintiff, Stanley Hawkins, to serve without bond as the Independent Executor her estate.

  The Will was admitted to probate in the Probate Court of Red River County, Texas, on March 13,

  2013, and the Plaintiff, Stanley Hawkins, was appointed as the Independent Executor of the Estate

  of Elizabeth Paige Hawkins to serve without bond. On March 13, 2013, the Plaintiff, Stanley

  Hawkins, filed his oath with the Probate Court of Red River County, Texas, to well and truly

  perform all duties of Executor of the Estate of Elizabeth Paige Hawkins and he appears herein not

  only in his individual capacity but as the Independent Executor of the Estate of Elizabeth Paige

  Hawkins.

          6.4      Before her death, Mrs. Hawkins suffered extreme conscious physical pain and mental

  anguish as a direct and proximate cause of the negligent acts and omissions of the Defendants.




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          6.5      As Independent Executor of the Estate of Elizabeth Paige Hawkins, Plaintiff Stanley

  Hawkins is entitled to recover on behalf of the Estate of Elizabeth Paige Hawkins compensation for

  damages suffered by the Estate as follows:

          a.       As a direct and proximate result of the Defendants’ wrongful and negligent
                   acts and/or omissions, Elizabeth Paige Hawkins suffered extreme conscious
                   pain and agony until her death. Plaintiff Stanley Hawkins, as Independent
                   Executor of the Estate of Elizabeth Paige Hawkins, seeks recovery for the
                   physical pain and suffering and mental anguish suffered by Elizabeth Paige
                   Hawkins prior to her death.

          b.       As a direct and proximate result of the Defendants’ wrongful and negligent
                   acts and/or omissions, Elizabeth Paige Hawkins incurred reasonable and
                   necessary medical expense, and Plaintiff Stanley Hawkins, as Independent
                   Executor of the Estate of Elizabeth Paige Hawkins, seeks recovery of the
                   reasonable and necessary medical expenses incurred by Elizabeth Paige
                   Hawkins prior to her death.

          c.       Elizabeth Paige Hawkins was buried in a manner reasonably suitable to her
                   station in life. Plaintiff Stanley Hawkins, as Independent Executor of the
                   Estate of Elizabeth Paige Hawkins, seeks compensation for damages to her
                   estate for the reasonable and necessary expense for the funeral and burial of
                   Elizabeth Paige Hawkins.

                            B. Wrongful Death Damages of Stanley Hawkins

          6.6      Stanley Hawkins is the surviving spouse of Elizabeth Paige Hawkins. As a direct

  and/or proximate result of Elizabeth Paige Hawkins’ death, Stanley Hawkins has suffered damages

  in the past and, in all reasonable probability, will continue to suffer damages in the future as follows:

          a.       Loss of companionship and society to including, but not limited to, love,
                   comfort, companionship and society that Stanley Hawkins, in reasonable
                   probability, would have received from Elizabeth Paige Hawkins had she
                   lived.

          b.       Emotional pain, torment and suffering experienced by Stanley Hawkins
                   because of the death of Elizabeth Paige Hawkins.




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          6.7      By reason of the above and foregoing, Stanley Hawkins has been damaged in an

  amount in excess of the minimum jurisdictional limits of this Court.

                           C. Wrongful Death Damages of Lacy Paige McKee

          6.8      Lacy Paige McKee is the surviving daughter of the decedent, Elizabeth Paige

  Hawkins. As a direct and/or proximate result of Elizabeth Paige Hawkins’ death, Lacy Paige McKee

  has suffered damages in the past, and in all reasonable probability, will continue to suffer in the

  future as follows:

          a.       Loss of companionship and society to including, but not limited to, love,
                   comfort, companionship and society that Lacy Paige McKee, in reasonable
                   probability, would have received from Elizabeth Paige Hawkins had she
                   lived.

          b.       Emotional pain, torment and suffering experienced by Lacy Paige McKee
                   because of the death of Elizabeth Paige Hawkins.

          6.9      By reason of the above and foregoing, Lacy Paige McKee has been damaged in an

  amount in excess of the minimum jurisdictional limits of this Court.

                                                  VII.

          7.1      Plaintiffs would show that the outrageous, malicious and otherwise morally culpable

  conduct of the Defendants was such that exemplary damages should be awarded against the

  Defendants.

          7.2      Exemplary damages should be awarded against the Defendants in an amount in excess

  of the minimum jurisdictional limits of this Court.

                                       VIII. NOTICE PROVISIONS

          8.1      Plaintiffs have complied with the Texas Civil Practice and Remedies Code §74.051




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  and provided written notice by certified mail, return receipt requested to Defendants, Nexion Health

  at Bogata, Inc. d/b/a Regency Healthcare and Rehabilitation Center at Red River and Nexion Health

  Management, Inc., of their claim prior to filing this lawsuit.

          8.2      Pursuant to Texas Civil Practice and Remedies Code §74.053, Plaintiffs do not state

  the amount of money by which they have been damaged but state that such sum is well within the

  jurisdiction of this Court.

                                    IX. DEMAND FOR JURY TRIAL

          Plaintiffs hereby demand a trial by jury.

                                         X. PRAYER FOR RELIEF

          PREMISES CONSIDERED, Plaintiffs request the Defendants be cited to appear and answer

  and, that on final trial, Plaintiffs have:

          a.       Judgment against Defendants for Plaintiffs’ actual damages as set forth above
                   in an amount within the jurisdictional limits of this Court;

          b.       Exemplary damages;

          c.       Pre-judgment and post-judgment interest as provided by law;

          d.       Costs of court; and

          e.       Such other and further relief to which Plaintiffs may show themselves justly
                   entitled.


                                                 Respectfully submitted,

                                                 SMITH WEBER, L.L.P.
                                                 5505 Plaza Drive - P.O. Box 6167
                                                 Texarkana, TX 75505
                                                 Telephone: 903/ 223-5656
                                                 Facsimile: 903/223-5652



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                                                 By:     /s/ J. Michael Smith
                                                        __________________________
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                                                        C. David Glass
                                                        Texas State Bar No. 24036642
                                                        E-mail: dglass@smithweber.com

                                                 ATTORNEYS FOR PLAINTIFFS

                                 CERTIFICATE OF SERVICE

          I hereby certify that a copy of this document was electronically filed with the Clerk
  of the Court using the CM/ECF system on this 18th day of April, 2014, which will send
  notification of such filing to the following parties:

  Gregory N. Ziegler
  Jason A. Burris
  MacDonald Devin, P.C.
  3800 Renaissance Tower
  1201 Elm Street
  Dallas, TX 75270

                                                        /s/ J. Michael Smith
                                                        J. Michael Smith




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